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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

BARBARA STONE, et al.
Plaintiffs
Vv. Case No. 1:21-cv-00752-CRC
DONALD TRUMP, et al.

Defendants

MOTION FOR RULING ON MOTION TO DISMISS

COME NOW Defendants Berkshire Hathaway, Inc., Warren E.
Buffett, Charles T. Munger, HomeServices of America, Inc., Ron
Peltier, Gino Blefari, Roy H. Long Realty Company, Inc. d/b/a
Long Realty, Reneé Gonzales, and Lisa Hays Benzing, by and
through undersigned counsel, Timothy G. Casey, and file this
Motion for Ruling on Motion to Dismiss and state as follows:

1. On March 24, 2021, a Motion to Dismiss the Plaintiff
Complaint was filed on behalf of these Defendants (Dkt. #5).
Thereafter, on March 26, 2021, the Court ordered Plaintiffs ta
respond to said Motion to Dismiss by no later than April 16,
2021 (Dkt. #10). Further, per its Minute Order entered June 4
2021, the Court ordered the Plaintiffs to show cause in writin
by June 18, 2021 why the Court should not grant the Motions ta
Dismiss of these Defendants and other Defendants and that
Plaintiffs’ failure to do so could result in summary dismissal

of their claims.

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2. Despite the Orders of this Court entered March 26,
2021 and June 4, 2021, Plaintiffs have failed to respond to the
Movants’ Motion to Dismiss and have further failed to show cause
in writing why said Motion should not be granted.

WHEREFORE, Defendants Berkshire Hathaway, Inc., Warren E.
Buffett, Charles T. Munger, HomeServices of America, Inc., Ron
Peltier, Gino Blefari, Roy H. Long Realty Company, Inc. d/b/a
Long Realty, Reneé Gonzales, and Lisa Hays Benzing respectfully
request that this Honorable Court grant their Motion to Dismigs
filed March 24, 2021.

Respectfully submitted,

/s/ Timothy G. Casey

TIMOTHY G. CASEY

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Attorney for Defendants Berkshire
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Reneé Gonzales and Lisa Hays
Benzing

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that, on this 14° day of September, 2021
I served a copy of the foregoing MOTION FOR RULING ON MOTION TO
DISMISS and proposed ORDER via ECF to all counsel of record and
via first class mail, postage prepaid, to:

Barbara Stone

19 West Flagler Street #404
Miami, Florida 33130
Plaintiff pro se

Robert Sarhan

19 West Flagler Street #404
Miami, Florida 33130
Plaintiff pro se

/s/ Timothy G. Casey

Timothy G. Casey

